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 8                            UNITED STATES DISTRICT COURT
 9                          SOUTHERN DISTRICT OF CALIFORNIA
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11   RAYMOND PERREAULT and                                Case No.: 19-CV-475 JLS (BLM)
     JULIE FRISINO, individually and on
12
     behalf of others similarly situated,                 ORDER GRANTING JOINT
13                                      Plaintiffs,       MOTION FOR DISMISSAL OF
                                                          ACTION WITH PREJUDICE AS TO
14   v.                                                   THE NAMED PLAINTIFF AND
15                                                        WITHOUT PREJUDICE AS TO THE
     BIG TIME RECOVERY, LLC,
                                                          PUTATIVE CLASS
16                                     Defendant.
17                                                        (ECF No. 41)
18         Presently before the Court is Plaintiff Raymond Perreault and Defendant Big Time
19   Recovery, LLC’s Joint Motion for Dismissal of Action with Prejudice as to the Named
20   Plaintiff and Without Prejudice as to the Putative Class (“Joint Mot.,” ECF No. 41). Good
21   cause appearing, the Court GRANTS the Joint Motion pursuant to Federal Rule of Civil
22   Procedure 41(a)(1)(ii). As requested by the Parties, the Court DISMISSES WITH
23   PREJUDICE this action as to Mr. Perreault and DISMISSES WITHOUT PREJUDICE
24   this action as to the putative class, with each Party to bear its own costs.
25         IT IS SO ORDERED.
26   Dated: February 7, 2020
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                                                                                    19-CV-475 JLS (BLM)
